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Attorneys for Plaintiff Johnathan Talbot

            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA

Johnathan Talbot               )
                               )
         Plaintiff,            ) Cause No. CV-23-66-BU-BMM
                               )
v.                             ) NOTICE OF APPEAL
                               )
                               )
Manoah Ainuu, and The North )
Face Apparel Corp., a Delaware )
Company.                       )
                               )
           Defendants.         )
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      TO THE CLERK OF COURT:

      PLEASE TAKE NOTICE THAT Plaintiff Johnathan Talbot

appeals to the United States Court of Appeals for the Ninth Circuit

from the final judgment entered in this case on March 13, 2024. Doc.

39.

      Plaintiff’s Representative Statement is attached to this Notice as

required by Ninth Circuit Rule 3-2(b).




DATED: March 29, 2024

                            Respectfully submitted,

                            Monforton Law Offices, PLLC

                            By:   /s/ Matthew G. Monforton
                                  Matthew G. Monforton
                                  Attorney for Plaintiffs




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                  REPRESENTATION STATEMENT

     Pursuant to Ninth Circuit Rule 3-2(b), Plaintiffs identify the

following parties to this action, as well as their counsel of record.



     1.    Appellant Johnathan Talbot:

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     2.    Appellee Manoah Ainuu

           Counsel:    James H. Goetz
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                     CERTIFICATE OF SERVICE

      I hereby certify that on March 29, 2024, I electronically filed the
foregoing paper with the Clerk of Court using the ECF system which
will send notification to counsel for all parties.


DATED: March 29, 2021

                             Respectfully submitted,

                             Monforton Law Offices, PLLC

                             By:   /s/ Matthew G. Monforton
                                   Matthew G. Monforton
                                   Attorney for Plaintiff




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